The sole question presented in this case is whether the tax imposed by Act No. 4 of the Legislature at its extra session in 1928 is a property or a license tax.
In the case of the Fleischmann Co. v. Conway (No. 29808 on the docket of this court), 122 So. 845,1 we held, in an opinion this day handed down, that the tax was not a property tax but a license tax.
For the reasons assigned in that case the judgment herein appealed from is affirmed. *Page 560 
O'NIELL, C.J., is of the opinion that the tax in question is, in effect, not a license tax but a tax on the right of possession or ownership of the property, and hence a tax on the property itself, in excess of the constitutional limitation, because the so-called dealer, as defined by the statute, embraces every possessor of malt, whether "for distribution, sale, or use."
1 Ante, p. 547.